                              Case 22-2101, Document 79, 12/09/2022, 3434164, Page1 of 3
                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                     MOTION INFORMATION STATEMENT
                    22-2208; 22-2101
Docket Number(s): ________________________________________                   _______________Caption [use short title]_____________________

Motion for: Termination of Acknowledgment and Notice of
            ______________________________________________
            Appearance, and Correct the Caption and
            Remove Parties
________________________________________________________

________________________________________________________
                                                                                     In Re: Fairfield Sentry Limited
Set forth below precise, complete statement of relief sought:

Motion for the Acknowledgment and Notice of Appearance and
________________________________________________________
Notice of Appearance as Additional Counsel with respect to RBC
Dexia Investor Service Julius Baer Sicav and RBC Investor Services
________________________________________________________
Bank S.A. FKA RBC Dexia Investor Services Bank S.A. filed by
Katten Muchin Rosenman LLP to withdrawn due to error; Motion to
________________________________________________________
Correct the Caption and Remove RBC Dexia Investor Service Julius
Baer Sicav because it is a fictional entity, and RBC Investor Services
________________________________________________________
Bank, S.A. FKA RBC Dexia Investor Services Bank S.A. has no
connection to this case.
________________________________________________________

________________________________________________________
                         RBC Dexia Investor Service Julius Baer Sicav;
              RBC Investor Services Bank S.A. FKA RBC
MOVING PARTY:_______________________________________                    Fairfield Sentry Limited (In Liquidation)
                                                      OPPOSING PARTY:____________________________________________
                         Dexia Investor Services Bank S.A.
          ___Plaintiff                  ___Defendant

          ___Appellant/Petitioner       X
                                       ___Appellee/Respondent

MOVING ATTORNEY:___________________________________ OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
 Anthony Paccione, Mark Ciani - Katten Muchin Rosenman LLP
________________________________________________________      David Elsberg; Selendy Gay & Elsberg
                                                           _______________________________________________________________

 50 Rockefeller Plaza, New York NY 10020, 212-940-8800
________________________________________________________    1290 Avenue of the Americas, New York NY 10104, 212-390-9004
                                                         _______________________________________________________________

 anthony.paccione@katten.com, mark.ciani@katten.com
________________________________________________________    delsberg@selendygay.com
                                                         _______________________________________________________________
                                     United States District Court for the Southern District of New York; Judge Vernon S. Broderick
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                           INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          ___Yes ___No
          X
        ___Yes     ___No (explain):__________________________              Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                    Requested return date and explanation of emergency: ________________
                                                                           _____________________________________________________________
Opposing counsel’s position on motion:
                                        X                                  _____________________________________________________________
         ___Unopposed ___Opposed ___Don’t        Know
                                                                           _____________________________________________________________
Does opposing counsel intend to file a response:
                              X                                            _____________________________________________________________
         ___Yes ___No ___Don’t          Know


Is oral argument on motion requested?                    X
                                                 ___Yes ___No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?                    X
                                                ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:

__s/__________________________________
     Anthony Paccione                  Date:__12/9/2022
                                              ___________ Service by: X
                                                                      ___CM/ECF ___Other [Attach proof of service]




Form T-1080 (rev.12-13)
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_______________________________
In Re: Fairfield Sentry Limited,                                 Docket No. 22-2101 (Lead)
                Debtor.                                          Docket No. 22-2208
*************************************
Fairfield Sentry Limited, (In Liquidation) acting by and
through the Foreign Representative thereof,
               Debtor - Appellant,
Kenneth Krys, solely in his capacity as Foreign
Representative and Liquidator thereof,
               Appellant,
Greig Mitchell, solely in their capacities as Foreign
Representatives and Liquidators thereof,
               Consolidated - Appellant,
v.
Citibank NA London,
       Appellee.
________________________________
 DECLARATION OF ANTHONY L. PACCIONE IN SUPPORT OF THE MOTION TO
    TERMINATE ACKNOWLEDGEMENT AND NOTICE OF APPEARANCE
       ANTHONY L. PACCIONE, under penalty of perjury, declares:

       1.      I am a member of the bar of the State of New York and of this Court and a member

of Katten Muchin Rosenman LLP. I submit this Declaration in support of the motion to terminate

the Acknowledgment and Notice of Appearance and Notice of Appearance as Additional Counsel

in this proceeding.

       2.      On October 13, 2022, an Acknowledgment and Notice of Appearance and Notice

of Appearance as Additional Counsel was filed in the above referenced case listing Anthony L.

Paccione and Mark T. Ciani as counsel for the entities listed as (i) RBC Dexia Investor Service

Julius Baer Sicav and (ii) RBC Investor Services Bank, S.A., FKA RBC Dexia Investor Services

Bank, S.A in No. 22-CV-2208.
             Case 22-2101, Document 79, 12/09/2022, 3434164, Page3 of 3




       3.      This filing was made in error. Since the filing of our appearance in the District

Court and upon further investigation, the entity named as RBC Dexia Investor Service Julius Baer

Sicav does not exist. At the time of the filing, we were under the impression that by naming this

fictional entity, the plaintiff in the matter may have intended to sue RBC Investor Services Bank,

S.A., FKA RBC Dexia Investor Services Bank, S.A. Consequently, we made an appearance for

that entity, even though it is not named in the case. We have since discovered that RBC Investor

Services Bank, S.A., FKA RBC Dexia Investor Services Bank, S.A. has no connection to this case.

       4.      We have brought this issue to the attention of the Plaintiffs-Appellants but no action

was taken.

       5.      As such, we respectfully request that my firm’s Acknowledgment and Notice of

Appearance and Notice of Appearance as Additional Counsel with respect to RBC Dexia Investor

Service Julius Baer Sicav and RBC Investor Services Bank, S.A., FKA RBC Dexia Investor

Services Bank, S.A. be withdrawn.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 9, 2022.

                                                             /s/ Anthony Paccione
                                                             Anthony L. Paccione
